          Case 4:15-cv-00422 Document 8 Filed in TXSD on 03/10/15 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ADAMS RESOURCES & ENERGY INC.,
ADA RESOURCES, INC. and ADAMS
RESOURCES EXPLORATION
COMPANY
               Plaintiffs,


                                                       CIVIL ACTION NO.: 4:15-CV-00422

RANGER INSURANCE COMPANY,
n/k/a FAIRMONT SPECIALTY
INSURANCE COMPANY,
                       Defendants.                      [JURY DEMANDED]


                 JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

         NOW INTO COURT, through undersigned counsel, come Plaintiffs, Adams Resources

& Energy, Inc., ADA Resources, Inc. and Adams Resources Exploration Company, and

Defendant, Ranger Insurance Company n/k/a Fairmont Specialty Insurance Company, who

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), stipulate to dismissal of the above-

captioned lawsuit without prejudice. The parties further stipulate that each party is to bear their

own costs and fees.




PD. 16714643.1
     Case 4:15-cv-00422 Document 8 Filed in TXSD on 03/10/15 Page 2 of 3




                                    Respectfully submitted,
                                    BECK REDDEN LLP

                                                                         ti
                                    BY:                                       1hGnr~
                                            Michael E. Richardson
                                            State Bar No. 24002838
                                            Federal Bar No. 23630
                                            1221 Mc Kinney Street, Suite 4500
                                            Houston, TX 77010-2020
                                            Telephone: 713-951-3700
                                            Facsimile: 713-951-3720
                                            E-mail: mrichardson@beckredden.com
                                    ATTORNEY FOR PLAINTIFFS,
                                    ADAMS RESOURCES & ENERGY INC., ADA
                                    RESOURCES, INC. AND ADAMS
                                    RESOURCES EXPLORATION COMPANY


                                   /f11.

                                   PHELPS D NBAR LLP

                                   By:                      2~zo
                                         Peri H. Alkas
                                         Attorney-In-Charge
                                         TBN: 00783536
                                         Federal ID No.: 15787
                                         500 Dallas Street, Suite 1300
                                         Houston, Texas 77002
                                         Telephone: (713) 626-1386
                                         Facsimile: (713) 626-1388
                                         E-mail: t~eri.alkas(ci)4phelps.com

                                   ATTORNEY-IN-CHARGE FOR DEFENDANT
                                   RANGER INSURANCE COMPANY N/K/A
                                   FAIRMONT SPECIALTY INSURANCE
                                   COMPANY



P1116714643.1
        Case 4:15-cv-00422 Document 8 Filed in TXSD on 03/10/15 Page 3 of 3




                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of March, 2015, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system which will send a notice of electronic

filing to all counsel of record.

                                                         0
                                                          •           ' ~itio
                                                      Peri H. Alkas
